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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

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SCOTT TRAUDT,
Plaintiff

Docket Number: 2:24-cv-782
JURY TRIAL DEMANDED

V.

ARI RUBENSTEIN
Defendant 1s' Amended Complaint
GTS SECURITIES LLC

GTS EQUITY PARTNERS LLC
GTS EXECUTION SERVICES LLC
Defendant

CHARLES W. SCHWAB AND CO. INC.
SCHWAB HOLDINGS, INC.
Defendant

FINANCIAL INDUSTRY
REGULATORY AUTHORITY
Defendant

GARY GENSLER

US SECURITIES AND EXCHANGE
COMMISSION

Respondent

* * * * * * ¥ KK KK HF HF FF KF HF KF KF KF HF HF HF KH KF KF KH KH *

2k ok 2 oi ok 2s a ee oie 9k ok a oo oi ok 2 2 2 2 2 fe i i i 2 ok of oft 2k 2 2 2 28 OR OK

PLAINTIFF SCOTT TRAUDT’S MOTION TO DISMISS RESPONDENT
SECURITIES AND EXCHANGE COMMISSION CHAIRMAN GARY GENSLER
FROM 18? AMENDED COMPLAINT AND TO WITHDRAW MOTION FOR
WRITE OF MANDAMUS

NOW COMES Plaintiff Scott Traudt (“Traudt’”) in the above-captioned matter and does motion
this court the following which is agreed to by the Securities and Exchange Commission (“SEC”).
1. Pursuant to FRCP41(a)(1)(A)(i) Dismiss Respondent Gary Gensler and all claims made

against the Securities and Exchange Commission in Traudt’s Ist Amended Complaint

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2. Dismiss without prejudice Traudt’s Motion for a Proposed Writ of Mandamus.

Traudt argues that in the interests of judicial economy, this makes sense at this juncture as it will
not force the SEC to expend resources on opposing a complaint for which Traudt is not seeking
damages against them, and if Traudt successfully navigates the various motions to dismiss and
for arbitration the Writ of Mandamus can be addressed later and against the proper individual

who is currently not a part of these proceedinsg.

Dated: September \ { , 2024 JSF. Anndd \

Scott Traudt, pro se ipso
191 Kibling Hill Road
Strafford, VT 05072

I hereby certify that a true copy of the foregoing was sent to all named defendants and
aa at the addresses delineated below either by 1‘! Class mail or via email on this

day of September, 2024.
ae EV ond dH
WS

SCOTT TRAUDT

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